          Case 2:20-cv-03966-CMR Document 4 Filed 10/21/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JAMES EVERETT SHELTON
                        Plaintiff,
             v.                                           CIVIL ACTION NO. 20-3966
 DIRECT ENERGY, LP
                        Defendant.


                                            ORDER

               AND NOW, this 21st day of October 2020, it is hereby ORDERED that a Rule 16

Scheduling Conference in the above-captioned case will be held by telephone conference on

Friday, November 6, 2020 at 12:00 Noon. Counsel should use the following number to be

connected to the Conference:    571-353-2300, Passcode: 946-583-109#.

               Counsel should consult Judge Rufe’s Policies and Procedures (available at

http://www.paed.uscourts.gov) prior to the teleconference. If trial counsel is attached for trial in a

court of record prior to the time of the teleconference, he/she should advise the Judge and opposing

counsel in writing at the earliest possible date, and another attorney in such trial counsel=s office

should participate in the teleconference. Any attorney participating in the teleconference shall

have evaluated the case for settlement purposes and have settlement authority from the client.

Counsel should be prepared to present argument on any and all motions that are pending at the

time of the teleconference. Counsel must enter his/her appearance in the case prior to the

teleconference.
          Case 2:20-cv-03966-CMR Document 4 Filed 10/21/20 Page 2 of 2




               The parties are required to confer and develop a proposed discovery plan pursuant

to Federal Rule of Civil Procedure 26(f). The proposed discovery plan should also advise the

Court whether the parties would like to attempt some form of alternative dispute resolution, and

if so, whether they would like to do so early or at the conclusion of discovery. The Rule 26(f)

report shall be filed one week prior to the scheduled teleconference.

               Failure to comply with these directives may result in the imposition of sanctions.

The teleconference will be continued to another date only under exceptional circumstances.

               It is so ORDERED.

                                             BY THE COURT:

                                             /s/ Cynthia M. Rufe

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                                             CYNTHIA M. RUFE, J.
